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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JONATHAN LEE RICHARDSON                          §
    Plaintiff,                                   §
                                                 §
v.                                               §       CIVIL ACTION NO. 5:19-CV-271
                                                 §
UNIVERSITY OF TEXAS                              §
SYSTEM, et al.,                                  §
     Defendants.                                 §

                      DEFENDANTS’ JOINT NOTICE OF REMOVAL

       Defendants, The University of Texas System (“UT System”), The University of Texas at

San Antonio (“UTSA”), and UTSA Chief of Police Gerald Lewis (referred to collectively herein

as “Defendants”), by and through the Office of the Attorney General for the State of Texas file

this Notice of Removal pursuant to 28 U.S.C. § 1446(a) on the basis of a federal question.

       This is an action in which the district court has original jurisdiction founded on a claim or

right arising under the Constitution, treaties, or laws of the United States. 28 U.S.C. § 1331. A

district court has removal jurisdiction in any case where it has original jurisdiction. 28 U.S.C.

§ 1441(a); Gutierrez v. Flores, 543 F.3d 248, 251 (5th Cir. 2008). A federal question exists “if

there appears on the face of the complaint some substantial, disputed question of federal law.”

Carpenter v. Wichita Falls Indep. Sch. Dist., 44 F.3d 362, 366 (5th Cir. 1995). This case is removed

on grounds that Plaintiff is bringing claims pursuant to 42 U.S.C. § 1983, alleging Defendants

violated his Fourth and Fourteenth Amendment rights.

     Plaintiff Richardson sues UT System, UTSA, Chief Lewis, in his official and individual

capacity, Sean Callahan, in his official and individual capacity, and the City of San Antonio in the

45th Judicial District Court of Bexar County, Texas. 28 U.S.C. § 1446(a); Plaintiff’s Original

Complaint ¶¶ 1-6. Defendant Sean Callahan has not yet been served as of the filing of this notice.
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Pursuant to 28 U.S.C. § 1446(b)(2)(A), the City of San Antonio consents to and joins in this

removal.

        Plaintiff’s suit in the state county court alleges violations of his Fourth and Fourteenth

Amendment rights guaranteed by the United States Constitution. More specifically, Plaintiff

brought his claims pursuant to 42 U.S.C. § 1983 for Officer Callahan’s alleged excessive use of

force, assault, and unlawful arrest of Plaintiff. Id. at ¶ 1. Plaintiff further asserts that UTSA and

Chief Lewis failed to adequately train and/or supervise Officer Callahan. See id. at ¶¶ 67-69, 74-

79. Plaintiff did not plead any claims specific to UT System. Id. ¶¶ 39-79.

        All pleadings filed in state court are attached hereto, and Plaintiff demanded a trial by jury

in his state-court action.

        This notice is timely where Cause No. 2019-CI-03044 was served on Defendants UT

System on February 28, 2019, and UTSA and Chief Lewis were served on February 25, 2019. The

notice of removal must be filed within 30 days of receiving “a copy of the initial pleading setting

forth the claim for relief.” 28 U.S.C. § 1446(b), Cole ex rel. Ellis v. Knowledge Learning Corp.,

416 F. App’x 437, 439 (5th Cir. 2011).

        This notice is also timely with respect to Defendant City of San Antonio, because pursuant

to 28 U.S.C. § 1446(b)(2)(C), “[if] defendants are served at different times, and a later-served

defendant files a notice of removal, any earlier served defendant may consent to the removal even

though that earlier-served defendant did not previously initiate or consent to removal.” The City

of San Antonio consents to removal.

        Defendants will file a motion to dismiss within the seven-day time limit after this notice of

removal in accordance with FED. R. CIV. P. 81(c).

        Defendants represent to this Court that Plaintiff will be served with this notice and copies



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of all pleadings associated with Defendants’ Notice of Removal. A copy of this notice of removal,

with attachments, will be filed with the state court.

       Defendants UT System, UTSA, and Chief Lewis remove this action to the United States

District Court for the Western District, San Antonio Division, pursuant to 28 U.S.C. § 1441, and

that Defendant be granted such other relief, including all costs, expenses, and attorneys’ fees to

which the Court deems just and proper.




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Respectfully submitted,

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Attorney General of Texas
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ATTORNEYS FOR DEFENDANTS
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                            NOTICE OF ELECTRONIC FILING

    I, KELSEY L. WARREN, Assistant Attorney General for the State of Texas, hereby certify

that I have electronically submitted for filing, a true and correct copy of the above and foregoing

in accordance with the Electronic Case Files system of the Western District of Texas, on March

18, 2019.

                                                 /s/ Kelsey L. Warren
                                                 KELSEY L. WARREN
                                                 Assistant Attorney General



                                CERTIFICATE OF SERVICE

    I, KELSEY L. WARREN, Assistant Attorney General for the State of Texas, hereby certify

that a true and correct copy of the above and foregoing has been served on all counsel of record

via the Court’s electronic noticing system, on March 18, 2019.

                                                 /s/ Kelsey L. Warren
                                                 KELSEY L. WARREN
                                                 Assistant Attorney General




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